Case 1:22-cv-10018-JSR Document 69-43 Filed 04/28/23 Page 1 of 4




          (;+,%,7$1
          Case 1:22-cv-10018-JSR Document 69-43 Filed 04/28/23 Page 2 of 4



Jeffrey Epstein address book 'Holy Grail’ of famous
names
  palmbeachdailynews.com/story/news/2011/03/12/jeffrey-epstein-address-book-holy/6643962007


NEWS

Michele Dargan

AD

0:27

SKIP

When talking about the personal address book of billionaire sex offender Jeffrey Epstein, the
term “little black book” takes that phrase to a whole new level.

Manhattan money manager Epstein’s book reads like a laundry list of the world’s richest and
most powerful people, including some Palm Beachers.

Referred to as “The Holy Grail” by Epstein’s former house manager — now serving time for
trying to sell it to attorneys — the 97-page address book details multiple addresses, phone
numbers, e-mails and other contact information for former President Bill Clinton, Britain’s
Prince Andrew and Sarah Ferguson, Donald Trump, Sen. John Kerry, various members of
the Kennedy clan and former British Prime Minister Tony Blair, among many others.

The British press has been having a field day digging up new details about Epstein’s
friendship with Prince Andrew. Virginia Roberts — known only as Jane Doe 102 in court
papers — has been dishing her story to London’s Daily Mail. Details include Roberts having
been in the company of the prince three times at Epstein’s behest.

Roberts also recounted meeting Clinton on Epstein’s private Caribbean island, according to
the Mail.

But Roberts made no suggestion of sexual relations with Prince Andrew or with Clinton, the
Mail reported. Similarly, there is no suggestion of anything salacious with any of the Palm
Beachers listed among the money manager’s contacts.

Roberts — who spent four years with Epstein — refers to him as “a monster” who paid her
lavishly to satisfy his and his friends sexual whims — although Roberts doesn’t identify the
friends.




                                                                                                1/3
          Case 1:22-cv-10018-JSR Document 69-43 Filed 04/28/23 Page 3 of 4

British papers also have reported that Ferguson accepted £15,000 from Epstein. The money
was paid to her former assistant, who claimed Ferguson owed him unpaid wages and other
bills. Ferguson has since told the Mail and other British papers that she made “a gigantic
error of judgment” in accepting the money from Epstein and that she will pay him back.

The entire “Grail” was made public as part of a pending civil court case in which Epstein is
suing attorney Brad Edwards, who represented several underage girls who sued Epstein.

Epstein sued Edwards, alleging he was involved in false claims made by Ponzi schemer Scott
Rothstein; Edwards countersued Epstein, saying he filed a frivolous lawsuit to get him to
back down from representing the young women.

All the lawsuits against Epstein said his modus operandi in the initial visit was the same: The
girls were taken to Epstein’s Palm Beach mansion and led upstairs to a spa room by one of
Epstein’s assistants, where he would ask the girls to perform sexually charged massages
and/or various sex acts, for which he would pay them.

Other high-profile names in Epstein’s book include Special Envoy for Middle East Peace
George Mitchell, New York City Mayor Michael Bloomberg, New York Gov. Andrew Cuomo,
Barbara Walters, Alec Baldwin, Ralph Fiennes, George Hamilton, Dustin Hoffman, Kevin
Spacey, Liz Hurley, Lauren Hutton, Janice Dickinson, Naomi Campbell, Christy Turlington,
Henry Kissinger, Joan Rivers, Courtney Love, Mick Jagger, Cornelia Guest, Phil Collins,
Itzhak Perlman, Simon LeBon, Charlie Rose, Richard Branson, playwright Candace Bushnell,
designers Tom Ford and Vera Wang, soap opera actress Nadia Bjorlin and erotic film star
Koo Stark, who once dated Prince Andrew.

Among the high-powered Palm Beachers listed in the money manager’s address book are
Catherine and Fred Adler, Samantha and Serena Boardman, Jimmy and Jane Buffett, Pepe
Fanjul, Conrad and Barbara Black, Gerry Goldsmith, Marjorie Gubelman, Dana Hammond,
David Koch, Henry Kravis, Frayda and George Lindemann Sr., Bob and Todd Meister, Alfred
Taubman, Stanley, Bea and Brett Tollman, and Martin Trust.

Gaston Cantens, a spokesman for Florida Crystals Corp., said Fanjul and Epstein “obviously
knew each other and had some contact in the past. But there isn’t any ongoing business or
social relationship with Mr. Epstein.”

Reached by phone at his Palm Beach home, media mogul Black said he knew Epstein as “a
friend of my colleague Mr. Wexner.”

Les Wexner, CEO of The Limited Brands, was reported to have been Epstein’s biggest client
and close friend. Wexner replaced Epstein as his money manager, according to recent
reports.




                                                                                                  2/3
          Case 1:22-cv-10018-JSR Document 69-43 Filed 04/28/23 Page 4 of 4

Some of the names in Epstein’s book are sub-listed under geographic locations. The heading
“massage” is notated under many of Epstein’s locations. Names and phone numbers, most of
them first names only, are listed under the massage entries.

Registered as a level 3 sex offender, Epstein pleaded guilty to soliciting underage girls for sex
at his El Brillo Way home in Palm Beach. In addition to serving 13 months of an 18-month
jail sentence, Epstein has settled at least two dozen lawsuits with young women for
undisclosed amounts.




                                                                                                    3/3
